                                      Case 14-15098-RAM                            Doc 1             Filed 03/04/14                  Page 1 of 41
B1 (Official Form 1) (04/13)
                                                 United States Bankruptcy Court
                                                SOUTHERN DISTRICT OF FLORIDA                                                                                     Voluntary Petition
                                                         MIAMI DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Victorero, Noemi

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-8376                                                                than one, state all):
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
6920 W 3 Ave
Hialeah, FL
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            33014
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Miami-Dade
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):



                                                                          ZIP CODE                                                                                         ZIP CODE


Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
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                                     Case 14-15098-RAM                       Doc 1           Filed 03/04/14                Page 2 of 41
B1 (Official Form 1) (04/13)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Noemi Victorero
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Richard J. Adams                                                 3/4/2014
                                                                                                 Richard J. Adams                                                       Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                    Case 14-15098-RAM                            Doc 1       Filed 03/04/14                  Page 3 of 41
B1 (Official Form 1) (04/13)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Noemi Victorero
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Noemi Victorero
      Noemi Victorero
                                                                                             X
                                                                                                 (Signature of Foreign Representative)
 X
                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     3/4/2014
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Richard J. Adams                                                                  defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Richard J. Adams                                 Bar No. 770434                        have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Adams & Associates, PA
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 1165 W 49 Street, Suite 107                                                                 given the debtor notice of the maximum amount before preparing any document
 Hialeah, FL 33012                                                                           for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


 Phone No.______________________ Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     3/4/2014
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


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                          Case 14-15098-RAM                Doc 1       Filed 03/04/14           Page 4 of 41
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                      MIAMI DIVISION
In re:   Noemi Victorero                                                                 Case No.
                                                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                          Case 14-15098-RAM                Doc 1     Filed 03/04/14          Page 5 of 41
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                      MIAMI DIVISION
In re:   Noemi Victorero                                                              Case No.
                                                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.



Signature of Debtor:    /s/ Noemi Victorero
                       Noemi Victorero

Date:         3/4/2014
                            Case 14-15098-RAM                  Doc 1   Filed 03/04/14       Page 6 of 41
B 6 Summary (Official Form 6 - Summary) (12/13)
                                             UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                       MIAMI DIVISION
   In re Noemi Victorero                                                             Case No.

                                                                                     Chapter      13



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                 $77,650.00


 B - Personal Property                            Yes      4                 $30,533.52


 C - Property Claimed                             Yes      1
     as Exempt
 D - Creditors Holding                            Yes      1                                        $161,038.85
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      2                                               $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      3                                           $4,998.00
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      3                                                                 $3,491.00
     Individual Debtor(s)

 J - Current Expenditures of                      Yes      3                                                                 $1,228.07
    Individual Debtor(s)

                                             TOTAL         20               $108,183.52             $166,036.85
                            Case 14-15098-RAM               Doc 1     Filed 03/04/14         Page 7 of 41
B 6 Summary (Official Form 6 - Summary) (12/13)
                                             UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF FLORIDA
                                                       MIAMI DIVISION
   In re Noemi Victorero                                                              Case No.

                                                                                      Chapter       13



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar
                                                                                   $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:
 Average Income (from Schedule I, Line 12)                                     $3,491.00

 Average Expenses (from Schedule J, Line 22)                                   $1,228.07

 Current Monthly Income (from Form 22A Line 12; OR, Form 22B
 Line 11; OR, Form 22C Line 20)                                                $1,500.00

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                             $74,388.85

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                $0.00

 4. Total from Schedule F                                                                            $4,998.00

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $79,386.85
                           Case 14-15098-RAM   Doc 1    Filed 03/04/14          Page 8 of 41
B6A (Official Form 6A) (12/07)



In re Noemi Victorero                                                    Case No.
                                                                                                               (if known)



                                     SCHEDULE A - REAL PROPERTY


                                                                                                            Current Value




                                                                                  Husband, Wife, Joint,
                                                                                                             of Debtor's
                   Description and                      Nature of Debtor's




                                                                                    or Community
                                                                                                              Interest in
                     Location of                       Interest in Property
                                                                                                          Property, Without    Amount Of
                      Property                                                                                                Secured Claim
                                                                                                           Deducting Any
                                                                                                           Secured Claim
                                                                                                            or Exemption


 Homestead                                       Homestead                           -                         $77,650.00       $152,004.00
 6920 W 3 Ave
 Hialeah, FL 33014




                                                                              Total:                           $77,650.00
                                                                              (Report also on Summary of Schedules)
                             Case 14-15098-RAM                Doc 1       Filed 03/04/14        Page 9 of 41
B6B (Official Form 6B) (12/07)




In re Noemi Victorero                                                                     Case No.
                                                                                                            (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                 Husband, Wife, Joint,
                                                                                                                                         Current Value of
                                                                                                                                         Debtor's Interest




                                                                                                                   or Community
                                                                                                                                            in Property,

             Type of Property             None                  Description and Location of Property
                                                                                                                                         Without Deducting
                                                                                                                                           any Secured
                                                                                                                                              Claim or
                                                                                                                                             Exemption

1. Cash on hand.                                 Cash on Hand                                                          -                      $19,000.00



2. Checking, savings or other finan-             Chase Checking Acct # 8238                                            -                          $33.52
cial accounts, certificates of deposit
or shares in banks, savings and loan,            Bank of America Checking Acct                                         -                           $5.00
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              Sofa, Chair, 2 Coffee Tables, 2 End Tables, Lamp, Wall                -                         $970.00
including audio, video and computer              Unit, Bar, Recliner, Television and DVD
equipment.
                                                 Dining Table, 6 Chairs and China Cabinet                              -                         $140.00

                                                 Bed, Dresser, 2 Nightstands, 2 Lamps, Television, Stereo              -                         $500.00
                                                 and Computer

                                                 Bed, Nightstand, Lamp and Television                                  -                         $610.00


5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              Clothing                                                              -                         $200.00


7. Furs and jewelry.                             Watch (no name brand) and fashion jewelry                             -                          $50.00


8. Firearms and sports, photo-            X
graphic, and other hobby equipment.
                             Case 14-15098-RAM      Doc 1       Filed 03/04/14       Page 10 of 41
B6B (Official Form 6B) (12/07) -- Cont.




In re Noemi Victorero                                                           Case No.
                                                                                               (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                  Continuation Sheet No. 1




                                                                                                     Husband, Wife, Joint,
                                                                                                                             Current Value of
                                                                                                                             Debtor's Interest




                                                                                                       or Community
                                                                                                                                in Property,

             Type of Property              None       Description and Location of Property
                                                                                                                             Without Deducting
                                                                                                                               any Secured
                                                                                                                                  Claim or
                                                                                                                                 Exemption


9. Interests in insurance policies.        X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name            X
each issuer.

11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,        X
or other pension or profit sharing
plans. Give particulars.

13. Stock and interests in incorpo-        X
rated and unincorporated businesses.
Itemize.

14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.
                             Case 14-15098-RAM       Doc 1       Filed 03/04/14       Page 11 of 41
B6B (Official Form 6B) (12/07) -- Cont.




In re Noemi Victorero                                                            Case No.
                                                                                                (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                   Continuation Sheet No. 2




                                                                                                      Husband, Wife, Joint,
                                                                                                                              Current Value of
                                                                                                                              Debtor's Interest




                                                                                                        or Community
                                                                                                                                 in Property,

             Type of Property               None       Description and Location of Property
                                                                                                                              Without Deducting
                                                                                                                                any Secured
                                                                                                                                   Claim or
                                                                                                                                  Exemption


18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life     X
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.
                             Case 14-15098-RAM                  Doc 1       Filed 03/04/14           Page 12 of 41
B6B (Official Form 6B) (12/07) -- Cont.




In re Noemi Victorero                                                                         Case No.
                                                                                                                     (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                              Continuation Sheet No. 3




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,

             Type of Property                 None                Description and Location of Property
                                                                                                                                                  Without Deducting
                                                                                                                                                    any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


25. Automobiles, trucks, trailers,                   2006 Mazda Miata                                                           -                       $9,000.00
and other vehicles and accessories.

26. Boats, motors, and accessories.           X

27. Aircraft and accessories.                 X

28. Office equipment, furnishings,            X
and supplies.

29. Machinery, fixtures, equipment,           X
and supplies used in business.

30. Inventory.                                X

31. Animals.                                  X

32. Crops - growing or harvested.             X
Give particulars.

33. Farming equipment and                     X
implements.

34. Farm supplies, chemicals, and             X
feed.

35. Other personal property of any                   Tools                                                                      -                          $25.00
kind not already listed. Itemize.




                                                                          3           continuation sheets attached   Total >                           $30,533.52
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                              Case 14-15098-RAM                    Doc 1     Filed 03/04/14          Page 13 of 41
B6C (Official Form 6C) (4/13)



In re Noemi Victorero                                                                          Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
              Description of Property                                                                                            Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 Cash on Hand                                            Fla. Const. art. X, § 4(a)(2)                          $1,000.00              $19,000.00

                                                         Fla. Stat. Ann. § 222.25(4)                            $4,000.00

 2006 Mazda Miata                                        Fla. Stat. Ann. § 222.25(1)                            $1,000.00               $9,000.00




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                                $6,000.00              $28,000.00
                          Case 14-15098-RAM                                                Doc 1     Filed 03/04/14          Page 14 of 41
B6D (Official Form 6D) (12/07)
          In re Noemi Victorero                                                                                        Case No.
                                                                                                                                                    (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                  AMOUNT OF         UNSECURED




                                                                                                                                UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                    CLAIM           PORTION, IF




                                                                                                                                 CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                  DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                    WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                  DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                      VALUE OF
                                                                                             PROPERTY SUBJECT                                  COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:
ACCT #: xxxx5122                                                                  NATURE OF LIEN:
                                                                                  Mortgage
Bank of America Home Loans                                                        COLLATERAL:
                                                                                  Homestead                                                     $152,004.00         $74,354.00
PO Box 5170                                                     -                 REMARKS:
Simi Valley, CA 93062-5170



                                                                                  VALUE:                          $77,650.00
                                                                                  DATE INCURRED:
ACCT #: xx xxxx xxx 1230                                                          NATURE OF LIEN:
                                                                                  Property Taxes
Miami Dade County Tax Collector                                                   COLLATERAL:
                                                                                  Homestead                                                        Unknown            Unknown
140 W. Flagler Street, 14th Floor                               -                 REMARKS:
Miami, FL 33130



                                                                                  VALUE:                          $77,650.00
                                                                                  DATE INCURRED:
ACCT #: xxxx3283                                                                  NATURE OF LIEN:
                                                                                  Homeowners Association
Palm Springs Villas Group                                                         COLLATERAL:
                                                                                  Homestead                                                        Unknown            Unknown
c/o Trust Mgt                                                   -                 REMARKS:
PO Box 160698
Hialeah, FL 33016


                                                                                  VALUE:                          $77,650.00
                                                                                  DATE INCURRED:
ACCT #: xxx7615                                                                   NATURE OF LIEN:
                                                                                  Purchase Money
Santander Consumer                                                                COLLATERAL:
                                                                                  2006 Mazda Miata                                                 $9,034.85              $34.85
P.O. Box 660633                                                 -                 REMARKS:
Dallas, TX 75266-0633



                                                                                  VALUE:                           $9,000.00
                                                                                                       Subtotal (Total of this Page) >            $161,038.85         $74,388.85
                                                                                                      Total (Use only on last page) >             $161,038.85          $74,388.85
________________continuation
       No                    sheets attached                                                                                                   (Report also on   (If applicable,
                                                                                                                                               Summary of        report also on
                                                                                                                                               Schedules.)       Statistical
                                                                                                                                                                 Summary of
                                                                                                                                                                 Certain Liabilities
                                                                                                                                                                 and Related
                                                                                                                                                                 Data.)
                             Case 14-15098-RAM                   Doc 1         Filed 03/04/14            Page 15 of 41
B6E (Official Form 6E) (04/13)

In re Noemi Victorero                                                                             Case No.
                                                                                                                            (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       1                     sheets attached
                             Case 14-15098-RAM                                              Doc 1      Filed 03/04/14                Page 16 of 41
B6E (Official Form 6E) (04/13) - Cont.
In re Noemi Victorero                                                                                                     Case No.
                                                                                                                                                   (If Known)


                         SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                    TYPE OF PRIORITY       Taxes and Certain Other Debts Owed to Governmental Units




                                                         HUSBAND, WIFE, JOINT,




                                                                                                                      UNLIQUIDATED
                                                                                                                       CONTINGENT
                                                           OR COMMUNITY
                                              CODEBTOR
             CREDITOR'S NAME,                                                      DATE CLAIM WAS INCURRED                            AMOUNT         AMOUNT      AMOUNT




                                                                                                                        DISPUTED
              MAILING ADDRESS                                                       AND CONSIDERATION FOR                               OF         ENTITLED TO     NOT
            INCLUDING ZIP CODE,                                                             CLAIM                                      CLAIM        PRIORITY   ENTITLED TO
          AND ACCOUNT NUMBER                                                                                                                                   PRIORITY, IF
           (See instructions above.)                                                                                                                               ANY


ACCT #:                                                                          DATE INCURRED:
                                                                                 CONSIDERATION:
Internal Revenue Service                                                         Taxes                                                  Unknown        Unknown      Unknown
PO Box 21126                                                                     REMARKS:
Philadelphia, PA 19114-0326                                      -




Sheet no. __________
               1       of __________
                               1       continuation sheets                                  Subtotals (Totals of this page) >              $0.00           $0.00        $0.00
attached to Schedule of Creditors Holding Priority Claims                               Total >                                            $0.00
                                       (Use only on last page of the completed Schedule E.
                                       Report also on the Summary of Schedules.)

                                                                                          Totals >                                                         $0.00        $0.00
                                       (Use only on last page of the completed Schedule E.
                                       If applicable, report also on the Statistical Summary
                                       of Certain Liabilities and Related Data.)
                          Case 14-15098-RAM                                           Doc 1       Filed 03/04/14    Page 17 of 41
B6F (Official Form 6F) (12/07)
  In re Noemi Victorero                                                                                        Case No.
                                                                                                                          (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                               CLAIM




                                                                                                                                 CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                  DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #: 0613                                                                          DATE INCURRED:
                                                                                      CONSIDERATION:
Bank of America                                                                       Credit Card Purchases                                       Unknown
PO Box 15102                                                                          REMARKS:
                                                                  -
Wilmington, DE 19886-5102



ACCT #: 3311                                                                          DATE INCURRED:
                                                                                      CONSIDERATION:
Capital One Bank / HSBC                                                               Credit Card Purchases                                         $614.00
PO BOX 85015                                                                          REMARKS:
                                                                  -
Richmond, VA 23285



ACCT #: 8530                                                                          DATE INCURRED:
                                                                                      CONSIDERATION:
Chase                                                                                 Credit Card Purchases                                       $3,000.00
PO Box 15153                                                                          REMARKS:
                                                                  -
Wilmington, DE 19886-5153



ACCT #:                                                                               DATE INCURRED:
                                                                                      CONSIDERATION:
Dillard National Bank                                                                 Credit Card Purchases                                       Unknown
PO BOX 29441                                                                          REMARKS:
                                                                  -
Phoenix, AZ 85038-9441



ACCT #: 8591                                                                          DATE INCURRED:
                                                                                      CONSIDERATION:
GE Capital Retail Bank                                                                Credit Card Purchases                                         $694.00
PO Box 960061                                                                         REMARKS:
                                                                  -
Orlando, FL 32896-0061



ACCT #: 5230                                                                          DATE INCURRED:
                                                                                      CONSIDERATION:
GECRB / Dillards                                                                      Credit Card Purchases                                         $384.00
PO Box 981439                                                                         REMARKS:
                                                                  -
El Paso, TX 79998



                                                                                                                            Subtotal >             $4,692.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       2                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                            Case 14-15098-RAM                                             Doc 1       Filed 03/04/14        Page 18 of 41
B6F (Official Form 6F) (12/07) - Cont.
  In re Noemi Victorero                                                                                              Case No.
                                                                                                                                   (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                                 AMOUNT OF




                                                                                                                                         UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                    CLAIM




                                                                                                                                          CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                           DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: 6790                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
GECRB / Lowes                                                                             Credit Card Purchases                                              $306.00
P.O. Box 103065                                                                           REMARKS:
                                                                      -
Roswell, GA 30076



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Macys / Burdines                                                                          Credit Card Purchases                                                 $0.00
PO Box 689195                                                                             REMARKS:
                                                                      -
Des Moines, IA 50368-9195



ACCT #: 6790                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
Portfolio Recovery Assoc.                                                                 Collecting for GECRB / Lowes                                    Notice Only
PO Box 12903                                                                              REMARKS:
                                                                      -
Norfolk, VA 23541



ACCT #: 3311                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
Portfolio Recovery Assoc.                                                                 Collecting for Capital One Bank / HSBC                          Notice Only
PO Box 12903                                                                              REMARKS:
                                                                      -
Norfolk, VA 23541



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Portfolio Recovery Assoc.                                                                 Collecting for WFNNB                                            Notice Only
PO Box 12903                                                                              REMARKS:
                                                                      -
Norfolk, VA 23541



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Sears                                                                                     Credit Card Purchases                                             Unknown
P.O. Box 182149                                                                           REMARKS:
                                                                      -
Columbus, OH 43218-2149



Sheet no. __________
              1        of __________
                               2     continuation sheets attached to                                                                 Subtotal >               $306.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 14-15098-RAM                                             Doc 1       Filed 03/04/14    Page 19 of 41
B6F (Official Form 6F) (12/07) - Cont.
  In re Noemi Victorero                                                                                            Case No.
                                                                                                                              (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                            AMOUNT OF




                                                                                                                                    UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                               CLAIM




                                                                                                                                     CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                      DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Sunbank Miami                                                                             Judgment                                                   Notice Only
PO Box 918497                                                                             REMARKS:
                                                                      -
Orlando, FL 32891-8497



ACCT #: xxxx # xx-x3097                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Sunbank Miami, NA                                                                         Judgment                                                     Unknown
166 Main Street                                                                           REMARKS:
                                                                      -
Greenville, PA16125



ACCT #:                                                                                   DATE INCURRED:
                                                                                          CONSIDERATION:
Victoria's Secret                                                                         Credit Card Purchases                                        Unknown
PO BOX 659728                                                                             REMARKS:
                                                                      -
San Antonio, TX 78265-9728



ACCT #: 7192                                                                              DATE INCURRED:
                                                                                          CONSIDERATION:
WFNNB                                                                                     Credit Card Purchases                                        Unknown
P.O. Box 659728                                                                           REMARKS:
                                                                      -
San Antonio TX, 78265-9728




Sheet no. __________
              2        of __________
                               2     continuation sheets attached to                                                            Subtotal >                 $0.00
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                     $4,998.00
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                            Case 14-15098-RAM               Doc 1      Filed 03/04/14         Page 20 of 41
B6G (Official Form 6G) (12/07)
   In re Noemi Victorero                                                                Case No.
                                                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.
                              Case 14-15098-RAM                   Doc 1        Filed 03/04/14             Page 21 of 41
B6H (Official Form 6H) (12/07)
In re Noemi Victorero                                                                              Case No.
                                                                                                                           (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
                                 Case 14-15098-RAM                          Doc 1               Filed 03/04/14               Page 22 of 41
     Fill in this information to identify your case:
      Debtor 1                  Noemi                                                Victorero
                                First Name               Middle Name                 Last Name
                                                                                                                            Check if this is:
      Debtor 2
                                                                                                                                 An amended filing
      (Spouse, if filing)       First Name               Middle Name                 Last Name

                                                                                                                                 A supplement showing post-petition
      United States Bankruptcy Court for the:       SOUTHERN DISTRICT OF FLORIDA
                                                                                                                                 chapter 13 income as of the following date:
      Case number
      (if known)
                                                                                                                                 MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                                                    12/13
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying
correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are
separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this
form. On the top of any additional pages, write your name and case number (if known). Answer every question.



     Part 1:         Describe Employment
1.      Fill in your employment
        information.                                                        Debtor 1                                               Debtor 2 or non-filing spouse
        If you have more than one job,
        attach a separate page with             Employment status                  Employed                                                Employed
        information about additional                                               Not employed                                            Not employed
        employers.
                                                Occupation                  Disabled
        Include part-time, seasonal, or
        self-employed work.
                                                Employer's name
        Occupation may include student
        or homemaker, if it applies.
                                                Employer's address
                                                                            Number     Street                                      Number      Street




                                                                            City                        State    Zip Code          City                       State   Zip Code


                                                How long employed there?


     Part 2:         Give Details About Monthly Income
Estimate monthly income as of the date you file this form.           If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless
you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
attach a separate sheet to this form.


                                                                                                            For Debtor 1                  For Debtor 2 or
                                                                                                                                          non-filing spouse


2.      List monthly gross wages, salary, and commissions (before all payroll                      2.                 $0.00
        deductions). If not paid monthly, calculate what the monthly wage would be.
3.      Estimate and list monthly overtime pay.                                                    3.   +             $0.00


4.      Calculate gross income. Add line 2 + line 3.                                               4.                 $0.00




Official Form B 6I                                                          Schedule I: Your Income                                                                         page 1
                                          Case 14-15098-RAM                                              Doc 1                 Filed 03/04/14                      Page 23 of 41
Debtor 1      Noemi                                                                                   Victorero                                                   Case number (if known)
              First Name                                  Middle Name                                 Last Name


                                                                                                                                                   For Debtor 1             For Debtor 2 or
                                                                                                                                                                            non-filing spouse

      Copy line 4 here ...................................................................................................................4.                 $0.00
5.    List all payroll deductions:

      5a.     Tax, Medicare, and Social Security deductions                                                                              5a.                 $0.00
      5b.     Mandatory contributions for retirement plans                                                                               5b.                 $0.00
      5c.     Voluntary contributions for retirement plans                                                                               5c.                 $0.00
      5d.     Required repayments of retirement fund loans                                                                               5d.                 $0.00
      5e.     Insurance                                                                                                                  5e.                 $0.00
      5f.     Domestic support obligations                                                                                               5f.                 $0.00
      5g.     Union dues                                                                                                                 5g.                 $0.00
      5h.     Other deductions.
              Specify:                                                                                                                   5h.   +             $0.00
6.    Add the payroll deductions.                     Add lines 5a + 5b + 5c + 5d + 5e + 5f + 5g + 5h.                                   6.                  $0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                                7.                  $0.00
8.    List all other income regularly received:

      8a.     Net income from rental property and from operating a business,                                                             8a.                 $0.00
              profession, or farm

              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total
              monthly net income.

      8b.     Interest and dividends                                                                                                     8b.                 $0.00
      8c.     Family support payments that you, a non-filing spouse, or a                                                                8c.                 $0.00
              dependent regularly receive

              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.


      8d.     Unemployment compensation                                                                                                  8d.                 $0.00
      8e.     Social Security                                                                                                            8e.              $632.00
      8f.     Other government assistance that you regularly receive
              Include cash assistance and the value (if known) or any non-cash
              assistance that you receive, such as food stamps (benefits under the
              Supplemental Nutrition Assistance Program) or housing subsidies.
              Specify: SSI                                                                                                               8f.              $109.00
      8g.     Pension or retirement income                                                                                               8g.                 $0.00
      8h.     Other monthly income.
              Specify: See continuation sheet                                                                                            8h.   +         $2,750.00

9.    Add all other income.                Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                              9.              $3,491.00


10.   Calculate monthly income. Add line 7 + line 9.                                                                                     10.             $3,491.00      +                        =        $3,491.00
      Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11.   State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.

      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in
      Schedule J.

      Specify:                                                                                                                                                                             11.   +            $0.00

12.   Add the amount in the last column of line 10 to the amount in line 11.    The result is the combined monthly income.                                                                 12.            $3,491.00
      Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies.
                                                                                                                                                                                                     Combined
                                                                                                                                                                                                     monthly income
13.   Do you expect an increase or decrease within the year after you file this form?
              No.                      None.
              Yes. Explain:




Official Form B 6I                                                                                       Schedule I: Your Income                                                                              page 2
                            Case 14-15098-RAM         Doc 1        Filed 03/04/14                Page 24 of 41
Debtor 1    Noemi                                    Victorero                                  Case number (if known)
            First Name                 Middle Name   Last Name




1.    Additional Employers Debtor 1                                              Debtor 2 or non-filing spouse



                                                                                 For Debtor 1             For Debtor 2 or
8h.   Other Monthly Income (details)                                                                      non-filing spouse




Official Form B 6I                                     Schedule I: Your Income                                                page 3
                                   Case 14-15098-RAM                           Doc 1           Filed 03/04/14                   Page 25 of 41
     Fill in this information to identify your case:
                                                                                                                              Check if this is:
      Debtor 1                    Noemi                                                Victorero                                  An amended filing
                                  First Name                 Middle Name               Last Name
                                                                                                                                  A supplement showing post-petition
      Debtor 2                                                                                                                    chapter 13 expenses as of the
      (Spouse, if filing)         First Name                 Middle Name               Last Name                                  following date:

      United States Bankruptcy Court for the:        SOUTHERN DISTRICT OF FLORIDA
                                                                                                                                       MM / DD / YYYY
      Case number                                                                                                                      A separate filing for Debtor 2 because
      (if known)                                                                                                                       Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                                                    12/13
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


     Part 1:         Describe Your Household
1.      Is this a joint case?

              No. Go to line 2.
              Yes. Does Debtor 2 live in a separate household?
                            No
                            Yes. Debtor 2 must file a separate Schedule J.

2.      Do you have dependents?                        No
                                                                                                         Dependent's relationship to              Dependent's      Does dependent
                                                       Yes. Fill out this information for
        Do not list Debtor 1 and                                                                         Debtor 1 or Debtor 2                     age              live with you?
                                                       each dependent...................................
        Debtor 2.
                                                                                                                                                                       No
        Do not state the dependents'
                                                                                                                                                                       Yes
        names.
                                                                                                                                                                       No
                                                                                                                                                                       Yes

                                                                                                                                                                       No
                                                                                                                                                                       Yes

                                                                                                                                                                       No
                                                                                                                                                                       Yes

                                                                                                                                                                       No
                                                                                                                                                                       Yes

3.      Do your expenses include                       No
        expenses of people other than
        yourself and your dependents?                  Yes



     Part 2:         Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value of such assistance and
have included it on Schedule I: Your Income (Official Form B 6I.)
                                                                                                                                                   Your expenses

4.      The rental or home ownership expenses for your residence. Include first mortgage                                                     4.                              $0.00
        payments and any rent for the ground or lot.


        If not included in line 4:

        4a.   Real estate taxes                                                                                                              4a.                             $0.00

        4b.   Property, homeowner's, or renter's insurance                                                                                   4b.                             $0.00

        4c.   Home maintenance, repair, and upkeep expenses                                                                                  4c.                             $0.00

        4d.   Homeowner's association or condominium dues                                                                                    4d.                             $0.00



     Official Form B 6J                                                       Schedule J: Your Expenses                                                                       page 1
                                   Case 14-15098-RAM                            Doc 1       Filed 03/04/14    Page 26 of 41
Debtor 1       Noemi                                                        Victorero                        Case number (if known)
               First Name                       Middle Name                 Last Name


                                                                                                                               Your expenses


5.      Additional mortgage payments for your residence,            such as home equity loans                            5.                      $0.00

6.      Utilities:

        6a.    Electricity, heat, natural gas                                                                            6a.                   $159.00

        6b.    Water, sewer, garbage collection                                                                          6b.                    $69.00

        6c.    Telephone, cell phone, Internet, satellite, and cable services                                            6c.                    $80.00

        6d.    Other. Specify:                                                                                           6d.                     $0.00

7.      Food and housekeeping supplies                                                                                   7.                    $300.00

8.      Childcare and children's education costs                                                                         8.                      $0.00

9.      Clothing, laundry, and dry cleaning                                                                              9.                    $125.00

10.     Personal care products and services                                                                              10.                    $30.00

11.     Medical and dental expenses                                                                                      11.                    $30.00

12.     Transportation. Include gas, maintenance, bus or train fare.                                                     12.                    $80.00
        Do not include car payments.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                               13.                    $75.00

14.     Charitable contributions and religious donations                                                                 14.                     $0.00

15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a.     Life insurance                                                                                          15a.                    $0.00

        15b.     Health insurance                                                                                        15b.                    $0.00

        15c.     Vehicle insurance                                                                                       15c.                    $0.00

        15d.     Other insurance. Specify:                                                                               15d.                    $0.00

16.     Taxes.       Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify:                                                                                                         16.                     $0.00

17.     Installment or lease payments:

        17a.     Car payments for Vehicle 1        2006 Mazda Miata                                                      17a.                  $280.07

        17b.     Car payments for Vehicle 2                                                                              17b.                    $0.00

        17c.     Other. Specify:                                                                                         17c.                    $0.00

        17d.     Other. Specify:                                                                                         17d.                    $0.00

18.     Your payments of alimony, maintenance, and support that you did not report as deducted from your pay             18.                     $0.00
        on line 5, Schedule I, Your Income (Official Form B 6I).


19.     Other payments you make to support others who do not live with you.
        Specify:                                                                                                         19.                     $0.00

20.     Other real property expenses not included in lines 4 or 5 of this form or on
        Schedule I: Your Income.


        20a.     Mortgages on other property                                                                             20a.                    $0.00

        20b.     Real estate taxes                                                                                       20b.                    $0.00

        20c.     Property, homeowner's, or renter's insurance                                                            20c.                    $0.00

        20d.     Maintenance, repair, and upkeep expenses                                                                20d.                    $0.00

        20e.     Homeowner's association or condominium dues                                                             20e.                    $0.00




     Official Form B 6J                                                         Schedule J: Your Expenses                                        page 2
                               Case 14-15098-RAM                        Doc 1         Filed 03/04/14         Page 27 of 41
Debtor 1     Noemi                                                   Victorero                              Case number (if known)
             First Name                  Middle Name                 Last Name


21.   Other. Specify:                                                                                                   21.    +        $0.00

22.   Your monthly expenses. Add lines 4 through 21.
      The result is your monthly expenses.                                                                              22.          $1,228.07

23.   Calculate your monthly net income.

      23a.     Copy line 12 (your combined monthly income) from Schedule I.                                             23a.         $3,491.00

      23b.     Copy your monthly expenses from line 22 above.                                                           23b.   -     $1,228.07

      23c.     Subtract your monthly expenses from your monthly income.
               The result is your monthly net income.                                                                   23c.         $2,262.93


24.   Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?


             No.
             Yes.   Explain here:
                    None.




 Official Form B 6J                                                    Schedule J: Your Expenses                                         page 3
                           Case 14-15098-RAM              Doc 1       Filed 03/04/14         Page 28 of 41
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Noemi Victorero                                                                  Case No.
                                                                                                             (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 22
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 3/4/2014                                                Signature    /s/ Noemi Victorero
                                                                         Noemi Victorero

Date                                                         Signature

                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                               Case 14-15098-RAM                    Doc 1        Filed 03/04/14            Page 29 of 41
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                           MIAMI DIVISION
   In re:   Noemi Victorero                                                                          Case No.
                                                                                                                             (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $8,760.00                   2013 Social Security and SSI Income (estimate)

        $2,223.00                   2014 Social Security and SSI Income YTD (estimate)

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                               Case 14-15098-RAM                  Doc 1        Filed 03/04/14            Page 30 of 41
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                  SOUTHERN DISTRICT OF FLORIDA
                                                          MIAMI DIVISION
   In re:   Noemi Victorero                                                                       Case No.
                                                                                                                          (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 1



       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)

None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                     DATE OF PAYMENT,
                                                                     NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                    OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Adams & Associates, PA                                       2/27/14                          $2000.00
        1165 W 49 Street, Suite 107
        Hialeah, FL 33012

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.
                               Case 14-15098-RAM                    Doc 1       Filed 03/04/14            Page 31 of 41
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                           MIAMI DIVISION
   In re:   Noemi Victorero                                                                         Case No.
                                                                                                                           (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 2



       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)


       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.


       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.



       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.


       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:
                               Case 14-15098-RAM                    Doc 1        Filed 03/04/14             Page 32 of 41
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                           MIAMI DIVISION
   In re:   Noemi Victorero                                                                          Case No.
                                                                                                                              (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 3



None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.


       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.


None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.



       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.


None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.


None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.
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B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF FLORIDA
                                                           MIAMI DIVISION
   In re:   Noemi Victorero                                                                           Case No.
                                                                                                                               (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 4



       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.


None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.



None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.


       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.



       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.


       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.




       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.
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B7 (Official Form 7) (04/13)              UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF FLORIDA
                                                     MIAMI DIVISION
   In re:   Noemi Victorero                                                               Case No.
                                                                                                              (if known)



                                           STATEMENT OF FINANCIAL AFFAIRS
                                                            Continuation Sheet No. 5



[If completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 3/4/2014                                                  Signature         /s/ Noemi Victorero
                                                               of Debtor         Noemi Victorero

Date                                                           Signature
                                                               of Joint Debtor
                                                               (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
                       Case 14-15098-RAM                Doc 1       Filed 03/04/14           Page 35 of 41
B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                                  MIAMI DIVISION
In re Noemi Victorero                                                                     Case No.

                                                                                          Chapter            13



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Noemi Victorero                                                     X    /s/ Noemi Victorero                               3/4/2014
                                                                        Signature of Debtor                                Date
Printed Name(s) of Debtor(s)
                                                                    X
Case No. (if known)                                                     Signature of Joint Debtor (if any)                 Date

                         Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,              Richard J. Adams                    , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Richard J. Adams
Richard J. Adams, Attorney for Debtor(s)
Bar No.: 770434
Adams & Associates, PA
1165 W 49 Street, Suite 107
Hialeah, FL 33012




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.
Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
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FB 201A (Form 201A) (11/12)


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy relief on
or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and provides
assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator.
The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each
debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.
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Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $46 administrative fee: Total fee $281)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1167 filing fee, $46 administrative fee: Total fee $1213)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $46 administrative fee: Total fee $246)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION
  IN RE:   Noemi Victorero                                                          CASE NO

                                                                                   CHAPTER       13

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 3/4/2014                                            Signature    /s/ Noemi Victorero
                                                                     Noemi Victorero



Date                                                     Signature
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            Bank of America
            PO Box 15102
            Wilmington, DE 19886-5102



            Bank of America Home Loans
            PO Box 5170
            Simi Valley, CA 93062-5170



            Capital One Bank / HSBC
            PO BOX 85015
            Richmond, VA 23285



            Chase
            PO Box 15153
            Wilmington, DE 19886-5153



            Dillard National Bank
            PO BOX 29441
            Phoenix, AZ 85038-9441



            GE Capital Retail Bank
            PO Box 960061
            Orlando, FL 32896-0061



            GECRB / Dillards
            PO Box 981439
            El Paso, TX 79998



            GECRB / Lowes
            P.O. Box 103065
            Roswell, GA 30076



            Internal Revenue Service
            PO Box 21126
            Philadelphia, PA 19114-0326
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            Macys / Burdines
            PO Box 689195
            Des Moines, IA 50368-9195



            Miami Dade County Tax Collector
            140 W. Flagler Street, 14th Floor
            Miami, FL 33130



            Palm Springs Villas Group
            c/o Trust Mgt
            PO Box 160698
            Hialeah, FL 33016


            Portfolio Recovery Assoc.
            PO Box 12903
            Norfolk, VA 23541



            Santander Consumer
            P.O. Box 660633
            Dallas, TX 75266-0633



            Sears
            P.O. Box 182149
            Columbus, OH 43218-2149



            Sunbank Miami
            PO Box 918497
            Orlando, FL 32891-8497



            Sunbank Miami, NA
            166 Main Street
            Greenville, PA16125



            Victoria's Secret
            PO BOX 659728
            San Antonio, TX 78265-9728
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            WFNNB
            P.O. Box 659728
            San Antonio TX, 78265-9728
